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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )      PRETRIAL STATUS CONFERENCE
               Plaintiff,                      )
                                               )
       vs.                                     )
                                               )      Case No. 1:24-cr-137
Jaseyona Sage Thomas,                          )
                                               )
               Defendant.                      )


       The undersigned shall hold a pretrial status conference with counsel by telephone on

November 13, 2024, at 9:45 AM to discuss, among other things, the viability of the current trial date.

To participate, counsel shall call (571) 353-2301 and enter “Caller ID” 292466149. Counsel are

strongly encouraged to consult with each other prior to the conference. This will enable the

conference to progress more expeditiously.

       IT IS SO ORDERED.

       Dated this 15th day of October, 2024.

                                               /s/ Clare R. Hochhalter
                                               Clare R. Hochhalter, Magistrate Judge
                                               United States District Court
